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                                 0UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION


   HYDENTRA HLP INT. LIMITED,
   a foreign corporation d/b/a METART                                     Case No.
                                                                    1:15-cv-22463-MGC
        Plaintiff,

   v.

   MAXIMUM APPS INC., a foreign company
   d/b/a SEX.COM, CLOVER HOLDINGS
   LIMITED PARTNERSHIP, a foreign
   company, d/b/a SEX.COM; SEX.COM;
   FREDERIC VALIQUETTE, an individual,
   and; John Does 1-20,

        Defendants.


                              DECLARATION OF BRADY J. COBB
                                      IN SUPPORT OF
                     OPPOSITION TO PLAINTIFF’S MOTION FOR SANCTIONS

            I, Brady J. Cobb, do declare and state as follows:

            1.       I am an attorney licensed to practice law in the State of Florida. I am local

   counsel for Defendants Maximum Apps, Inc. and Mr. Frederic Valiquette (the “Maximum

   Defendants”) in the above captioned matter. I have personal knowledge of the facts stated

   herein. If called upon to do so, I could and would testify to the truth hereof.

            2.       On January 18 and 19, 2016, I was attending depositions of defendants in another

   case filed in this District by the Plaintiff, where I also represent the defendants. Present at those

   depositions were Attorney Aaron Behar and Attorney Spencer Freeman.




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          3.      At the close of the deposition on one of those days, I raised the fact that Plaintiff

   had sent out deposition notices as placeholders in the above captioned case, but pointed out that

   the parties had subsequently agreed upon and filed a joint motion to stay pre-trial deadlines.

          4.      Attorneys Behar and Freeman told me that they did not want to waste time, that

   they did not think the depositions in this case would go forward on the dates indicated, and that

   they would contact me to discuss the issue further.

          5.      On January 27, 2016, I had not heard back from Plaintiff’s counsel and, in an

   abundance of caution, I sent an email to Plaintiff’s counsel simply confirming that the

   depositions were not going forward at the time noticed. A true and correct copy of my email to

   them and the following correspondence is attached hereto as Exhibit 1.

          6.      Given the conversations between counsel; the filing of the Joint Motion to Stay;

   the fact that the depositions could not properly be noticed in Florida; and the Plaintiff’s failure to

   call to confirm that the depositions were going forward, I could not imagine that the Plaintiff

   actually intended to proceed with the depositions pursuant to the placeholder notices sent.

          Signed under the pains and penalties of perjury, this 17th day of February, 2016.



                                                          ____________________________
                                                          Brady J. Cobb, Esq.




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                                Exhibit
                                  1
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